Case 1:23-cv-00108-LMB-JFA Document 883 Filed 06/29/24 Page 1 of 2 PageID# 20580



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


      UNITED STATES, et al.,

                                 Plaintiffs,

            vs.                                        No. 1:23-cv-00108-LMB-JFA

      GOOGLE LLC,

                                 Defendant.



                          GOOGLE LLC’S NOTICE OF FILING

           Defendant Google LLC (“Google”) files the attached REDACTED exhibits that are

     identified in the DEFENDANT GOOGLE LLC’S AMENDED CONSOLIDATED

     RESPONSE TO PLAINTIFFS’ MOTIONS TO SEAL MOTION TO SEAL (Doc. 880).
Case 1:23-cv-00108-LMB-JFA Document 883 Filed 06/29/24 Page 2 of 2 PageID# 20581




     Dated: June 29, 2024.                Respectfully submitted,

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